Case 2:03-cV-02832-BBD-STA Document 24 Filed 06/30/05 Page 1 of 2 Page|D 50

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lN THE UN|TED STATES DlSTRICT COURT 05JUN 30 H 3= 55
FOR THE WESTERN DlSTRICT OF TENNESSEE ` `

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`, id

D.C.

T|M COMSTOCK,

Plaintiff, Case No.: 03-2832 D

VS.

FEDERAL EXPRESS CORPORATION, et al.,

Defendants.

 

ORDER OF D|SM|SSAL

lt appears to the Court that the plaintiff, by and through counsel, has filed a

voluntary dismissal as to his claim.

|T lS THEREFORE ORDERED that the above cause be dismissed without prejudice

based upon the Notice of Dismissa|.

IT ls so oRDEREo this §Q day of%o¢_».; 2005.

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T:-is document entered on the docket sheet in comptiance
with i:lu!e 58 and/or 79(2) FRCP on "

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 24 in
case 2:03-CV-02832 Was distributed by faX, mail, or direct printing on
July 5, 2005 to the parties listed.

 

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Honorable Bernice Donald
US DlSTRICT COURT

